Case 3:12-cr-00003-DHB-BKE Document 812 Filed 12/10/14 Page 1 of 1




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                                                                                                             ,,'iL.
                                                                                                                  I i]      |
                 rN THE T'NITED STATES DISTRICT COURT FORdI
                         SOUTIIERN DISTRICT OF GEORGIA
                                DUBLIN DIVISION          z8i
U N I T E D S T A T E SO E A M E R ] C A
                                                                                                ;Ltn
                                                              *          aD    ?1)-nn?


JOHNNY FABIAN




                                                         ORDER


         Defendant has fifed                       a motion for               reduction      of sentence under
                                                                                                         '782
18 U.S.C.         S 3582(c) (2) on the                            basis       that    Amendment                 to    the

UniLed Staces Sentenci ng Guidelines                                          has revised        the      guidelines

^nnlir-,:hlp          j-o    drr.t       -ra"'i     r-ki-o        of fenses-         F\?Fn    rh.rr^l-     A'nan.]'rent


782 became effective                           on November I,                 2474, no defendant                may be

refeased         on         the         basis       of       the        retroactive          amendment before

November I,            20L5.            See U.S.S.G. Amend. 788.                         Thus, the Court will

undercake a review of cases involving                                          drug rrafficking             offenses

in due course.                    If     Defendant is              entitfed      to a sentence reduction

as   a       result          of        amendments to                the        United     States          Sentencing

Guldelines,             the            Court      wifl    make such a                reduction           sua sporte.

Accordingly,                Defendant's             moti on (doc, no. 811) is DEEEI.RED-I

         ORDER ENTERED at                           Augusra,             Georgia,        rhis
                                                                                                     /Ehd a y o f
                                                                                                    / tz

December, 2014




                                                                         UNITED ST           ES DISTRICT




         1     The Clerk                 is    directed            to    rerminate        rhe    motion         for
rdri' ni st raf r \/e nrrrnoseS.
